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                    UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF VIRGINIA
                          ALEXANDRIA DIVISION
    In re: Seretha Davis                                       Chapter 13

                     Debtor                                    Case No. 07-13986-SSM




                            Motion to Voluntarily Dismiss Chapter 13



            Debtor moves to dismiss this case under Section 1307 and request that an order so
    stating be entered.


    Date:


                                                        by _/s/ Klinette Kindred_______
                                                         Robert Ross Weed, VSB #24646
                                                         Klinette H. Kindred, VSB#18000




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